OFD (12/1/11)                    UNITED STATES BANKRUPTCY COURT                       U.S. BANKRUPTCY COURT
                                          District of Oregon                           DISTRICT OF OREGON
                                                                                             FILED
In re                                              )   Case No. 18−63610−pcm7
 Scott Edward Hicks                                )                                     November 29, 2018
Debtor(s)                                          )   ORDER AND NOTICE       Clerk, U.S. Bankruptcy Court
                                                   )   REGARDING FILING OF
                                                   )   DOCUMENT(S); AND NOTICE         BY DEPUTY
                                                   )   OF PROPOSED DISMISSAL
                                                   )

The bankruptcy CASE FILED on 11/28/18 has deficiencies.
14 DAYS TO FILE: The following required document(s) were not filed. You must file each listed document
within 14 days of the CASE FILED date shown above.

    Attorney's Disclosure of Compensation. NOTE: The debtor's case will not be dismissed for the
    attorney's failure to timely file this document. (Fed. Rule Bankr. Proc. 2016(b))

    A completed current version of Summary of Assets and Liabilities (Official Form 106Sum), all
    Schedules required for the debtor, and a signed Declaration About an Individual Debtor's
    Schedules (Official Form 106Dec); and a signed Statement of Financial Affairs (Official Form 107).
    (Fed. Rules Bankr. Proc. 1007 & 1008)

    − NOTE: The accuracy and completeness of the creditor Schedules (i.e., D−H), and the required
    creditor mailing list which includes all entities listed on the Schedules, are the debtor's
    responsibility. Such Schedules will not be compared with any creditor mailing list. Entities listed on
    Schedules D−H that were not listed on the creditor mailing list filed with the debtor's Petition must
    be added using Local Form 728 unless the only change is to correct a previously listed creditor's
    address, or attorney for a previously listed creditor. (Local Bankr. Rule 1009−1.)

    A Statement of Your Current Monthly Income must be filed on the current Official Form applicable
    in this case: 122A−1 for Chap. 7, 122B for Chap. 11 or 122C−1 for Chap. 13. [Please note: If filing
    122A−1 or 122C−1, an additional form may be required. Follow the instructions on the form.]

30 DAYS TO FILE: The following required document was not filed. You must file the listed document within 30
days of the CASE FILED date shown above.

    A current and complete version of Individual Debtor's 11 USC §521 Statement of Intention (Local
    Form 521.05). (Local Bankr. Rule 1007−3)



IT IS HEREBY ORDERED that, unless otherwise provided above, this case may be DISMISSED without
further notice to the debtor(s) if the deficiencies outlined above are not completely and accurately corrected
AND the documents FILED within the time indicated. Each document or item filed must show each
DEBTOR'S NAME and the CASE NUMBER. Any document or item required to be filed using a form must be
COMPLETED using the CURRENT VERSION of the form.

Dismissal for failure to correct the deficiencies noted above may make the debtor(s) ineligible to file
another petition for 180 days after dismissal pursuant to 11 USC §109(g)(1) and/or may limit the
automatic stay if another petition is filed within 1 year pursuant to 11 USC §362(c)(4).

                                                                                   Clerk, U.S. Bankruptcy Court




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